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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                       MDL NO 2924
   PRODUCTS LIABILITY                                                                20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                     PLAINTIFFS’ MOTION TO FILE CONSOLIDATED
                   MEDICAL MONITORING CLASS ACTION COMPLAINT

            Pursuant to this Court’s Order [DE 2515 at 48], Plaintiffs request leave to file the

   Consolidated Medical Monitoring Class Action Complaint attached hereto as Exhibit A.

            1.    On June 22, 2020, Plaintiffs filed their Consolidated Consumer Class Action

   Complaint (“CCCAC”) for economic loss and medical monitoring [DE 889]. Based on the

   motions to dismiss filed by Defendants, this Court issued a series of detailed Orders culminating

   with an Order entered on January 8, 2021 (collectively, the “Orders”) that, inter alia, dismissed

   the CCCAC, and authorized Plaintiffs to amend the CCCAC [DE 2515, 2532] and seek leave to

   file a stand-alone Consolidated Medical Monitoring Class Action Complaint [DE 2515 at 48, 2716

   at 2].

            2.    Based on the Court’s rulings with respect to the medical monitoring class claims,

   Plaintiffs seek leave to file the attached Consolidated Medical Monitoring Class Action Complaint.

   See Exhibit A. The Consolidated Medical Monitoring Class Action Complaint asserts claims by

   52 Plaintiffs. All 52 Plaintiffs were named in the CCCAC, are subject to ongoing discovery, and

   most are named as Plaintiffs in the Consolidated Amended Economic Loss Class Action Complaint

   being filed concurrently. The Consolidated Medical Monitoring Class Action Complaint asserts
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   claims on behalf of putative classes in the 14 States where medical monitoring is recognized as an

   independent cause of action or a remedy for a tort claim, and do not require Plaintiffs to allege

   present physical injury to avail themselves of such relief.

           3.     Pursuant to Local Rule 7.1, prior to filing this motion, undersigned counsel certify

   that they conferred with Defendants’ Co-Lead Counsel in a good faith effort to resolve by

   agreement the issues raised in the motion. Defendants take no position on this motion, and reserve

   their right to raise any and all objections or defenses to the proposed complaint once they have an

   opportunity to review it.

           WHEREFORE, Plaintiffs request leave to file the Consolidated Medical Monitoring Class

   Action Complaint attached as Exhibit A. A proposed Order is attached as Exhibit B.

   Dated: February 22, 2021
                                                     Respectfully submitted,

   /s/ Tracy A. Finken                               By: /s/ Robert C. Gilbert
   Tracy A. Finken                                   Robert C. Gilbert, FBN 561861
   Email: tfinken@anapolweiss.com                    Email: gilbert@kolawyers.com
   ANAPOL WEISS                                      KOPELOWITZ OSTROW FERGUSON
   One Logan Square                                  WEISELBERG GILBERT
   130 North 18th Street, Suite 1600                 2800 Ponce de Leon Boulevard, Suite 1100
   Philadelphia, PA 19103                            Coral Gables, FL 33134
   Tel: (215) 735-1130                               Tel: (305) 384-7270


   /s/ Michael L. McGlamry                           /s/ Adam Pulaski
   Michael L. McGlamry                               Adam Pulaski
   Email: efile@pmkm.com                             Email: adam@pulaskilawfirm.com
   POPE McGLAMRY, P.C.                               PULASKI KHERKHER, PLLC
   3391 Peachtree Road NE, Suite 300                 2925 Richmond Avenue, Suite 1725
   Atlanta, GA 30326                                 Houston, TX 77098
   Tel: (404) 523-7706                               Tel: (713) 664-4555

                                       Plaintiffs’ Co-Lead Counsel




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   Rosemarie R. Bogdan                       Mark J. Dearman, FBN 0982407
   Email: Rosemarie.bogdan@1800law1010.com   Email: mdearman@rgrdlaw.com
   MARTIN, HARDING & MAZZOTTI                ROBBINS GELLER RUDMAN & DOWD
   1222 Troy-Schenectady Road                120 East Palmetto Park Road, Suite 500
   Niskayuna, NY 12309                       Boca Raton, FL 33432
   Tel: (518) 862-1200                       Tel: (561) 750-3000

   Elizabeth A. Fegan                        Marlene J. Goldenberg
   Email: beth@feganscott.com                Email: mjgoldenberg@goldenberglaw.com
   FEGAN SCOTT, LLC                          GOLDENBERG LAW, PLLC
   1456 Sycamore Road                        800 LaSalle Avenue, Suite 2150
   Yorkville, IL 60560                       Minneapolis, MN 55402
   Tel: (312) 741-1019                       Tel: (855) 333-4662

   Ashley Keller                             Frederick S. Longer
   Email: ack@kellerlenkner.com              Email: flonger@lfsblaw.com
   KELLER | LENKNER                          LEVIN SEDRAN & BERMAN
   150 N. Riverside Plaza, Suite 4270        510 Walnut Street, Suite 500
   Chicago, IL 60606                         Philadelphia, PA 19106
   Tel: (312) 741-5222                       Tel: (215) 592-1500

   Roopal P. Luhana                          Francisco R. Maderal, FBN 0041481
   Email: luhana@chaffinluhana.com           Email: frank@colson.com
   CHAFFIN LUHANA LLP                        COLSON HICKS EIDSON
   600 Third Avenue, 12th Floor              255 Alhambra Circle, Penthouse
   New York, NY 10016                        Coral Gables, FL 33134
   Tel: (888) 480-1123                       Tel: (305) 476-7400

   Ricardo M. Martinez-Cid, FBN 383988       Lauren S. Miller
   Email: RMartinez-Cid@Podhurst.com         Email: lmiller@corywatson.com
   PODHURST ORSECK, P.A.                     CORY WATSON, P.C.
   SunTrust International Center             2131 Magnolia Avenue South
   One S.E. 3rd Avenue, Suite 3200           Birmingham, AL 35205
   Miami, FL 33130                           Tel: (205) 271-7168
   Tel: (305) 358-2800

   Melanie H. Muhlstock                      Daniel A. Nigh, FBN 30905
   Email: mmuhlstock@yourlawyer.com          Email: dnigh@levinlaw.com
   PARKER WAICHMAN LLP                       LEVIN PAPANTONIO THOMAS
   9 Evelyn Road                             MITCHELL RAFFERTY & PROCTOR, P.A.
   Port Washington, NY 11050                 316 South Baylen Street, Suite 600
   Tel: (516) 723-4629                       Pensacola, FL 32502
                                             Tel: (888) 435-7001




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   Carmen S. Scott                               Mikal C. Watts
   Email: cscott@motleyrice.com                  Email: mcwatts@wattsguerra.com
   MOTLEY RICE LLC                               WATTS GUERRA LLP
   28 Bridgeside Boulevard                       4 Dominion Drive
   Mount Pleasant, SC 29464                      Building 3, Suite 100
   Tel: (843) 216-9160                           San Antonio, TX 78257
                                                 Tel: (800) 294-0055

   Sarah N. Westcot, FBN 1018272                 Conlee S. Whiteley
   Email: swestcot@bursor.com                    Email: c.whiteley@kanner-law.com
   BURSOR & FISHER, P.A.                         KANNER & WHITELEY, L.L.C.
   701 Brickell Avenue, Suite 1420               701 Camp Street
   Miami, FL 33131-2800                          New Orleans, LA 70130
   Tel: (305) 330-5512                           Tel: (504) 524-5777

   Frank Woodson
   Email: Frank.Woodson@BeasleyAllen.com
   BEASLEY ALLEN LAW FIRM
   234 Commerce Street
   Montgomery, AL 36103
   Tel: (334) 269-2343

                                    Plaintiffs’ Steering Committee
                         Plaintiffs’ Law and Briefing Committee Co-Chairs
                                      Plaintiffs’ Liaison Counsel


   Paige Boldt                                   Je Yon Jung
   Email: pboldt@wattsguerra.com                 Email: JJung@maylightfootlaw.com
   WATTS GUERRA LLP                              MAY LIGHTFOOT PLLC
   1815 Windsong Circle                          3200 Martin Luther King Jr. Avenue
   Keller, TX 76248                              S.E., 3rd Floor
   Tel: (210) 447-1534                           Washington DC 20032
                                                 Tel: (202) 918-1824

   Adam W. Krause                                Nicola Larmond-Harvey, FBN 0105312
   Email: adam@krauseandkinsman.com              Email: nicola@saunderslawyers.com
   KRAUSE AND KINSMAN, LLC                       SAUNDERS & WALKER, P.A.
   4717 Grand Avenue, Suite 300                  3491 Gandy Boulevard North, Suite 200
   Kansas City, MO 64112                         Pinellas Park, FL 33781
   Tel: (816) 760-2700                           Tel: (727) 579-4500




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   Bradford B. Lear
   Email: Lear@learwerts.com
   LEAR WERTS LLP
   103 Ripley Street
   Columbia, MO 65203
   Tel: (573) 875-1992

                         Plaintiffs’ Leadership Development Committee




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 22, 2021, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

   counsel of record or parties registered to receive CM/ECF Electronic Filings.


                                                              /s/ Robert C. Gilbert
                                                              Robert C. Gilbert




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